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                          EXHIBIT M
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                              UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF FLORIDA

                                         Case No. 9:19-cv-81160
     APPLE INC.,
                         Plaintiff,
             v.

     CORELLIUM, LLC,

                         Defendant.




           DEFENDANT’S NOTICE OF SERVING FOURTH AMENDED ANSWERS
                 TO PLAINTIFF’S FIRST SET OF INTERROGATORIES

           Defendant Corellium, LLC (“Corellium”), by and through undersigned counsel, pursuant

    to the Federal Rules of Civil Procedure, hereby files this Notice of Serving Fourth Amended

    Answers to Plaintiff, Apple Inc.’s (“Apple”), First Set of Interrogatories.

     Dated: March 9, 2020                            Respectfully submitted,

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                                                   Attorneys for Corellium, LLC

                                   CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on this 9th day of March, 2020, a true and correct copy of the

    foregoing document has been furnished via email to counsel of record identified below.

                                          /s/ Justin B. Levine
                                           Justin B. Levine


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           The Corellium product uses exclusively Corellium-developed and third-party technology
           to perform the loading process of iOS. In particular, the "boot loader" used by Corellium
           is not a derivative work of Apple device firmware. Similarly, the SEP model used by
           Corellium does not contain a copy of Apple SEP firmware. Corellium developed those
           integrated pieces separately based on clean-room reverse engineering of freely available
           Apple products.

           The Corellium product loads iOS from a separate firmware archive that is not provided by
           Corellium. Subsequently, the firmware is modified at load time to achieve interoperability
           with Corellium - much like an operating system loads an executable - and to add the
           following significant features that are relevant to the research and testing markets:

               •   optional "jailbreak" of the Virtual Device, where users are enabled to load
                   unprotected, unencrypted programs for research and testing purposes,

               •   tracing features like CoreTrace or KAlloc heap debugger, which enable deeper
                   insight into the OS than provided by Apple software,

               •   kernel debugger support, which is considered to be a basic and essential research
                   tool that is not provided by Apple,

               •   ability to save and restore the complete state of the device while it's running
                   (including state normally hidden from the user), which is a feature exclusive to
                   Virtual Devices,

               •   ability to control features that are always-on on Apple hardware, in particular PAC,
                   APRR and KTRR system integrity protection.

           Note that “jailbroken” Virtual Devices offer a different set of features than “jailbroken”
           physical phones. In particular, Corellium Virtual Devices do not contain cryptographic
           keys required to access protected iTunes store content. They are substantially aimed
           towards enabling researchers to gain greater understanding of the software running inside.
           Because this is transformative, it is fair use.

    INTERROGATORY NO. 6: Identify and fully describe any and all licenses or authorizations
    that You contend permitted You to create the Corellium Apple Product, including but not limited
    to describing the Person to whom the license or authorization was granted and the Person who
    granted it, the scope of the license or authorization, the date and place the license or authorization
    was granted, for what period of time the license or authorization was granted, under what terms or
    restrictions the license or authorization was granted, and the consideration that was provided for
    the license or authorization.

           ANSWER:           Various Apple employees, including but not limited to Jason Shirk, Jon
           Andrews, Craig Federighi, and Ivan Krstić, were aware of and encouraged Corellium to
           further develop its technology.




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           Apple’s behavior towards Corellium and the general public qualifies as an implied license
           and/or acquiescence to use of the Corellium Apple Product. By providing iOS online for
           download directly from its servers, and by acquiescing to third parties’ offering iOS for
           download from Apple’s servers (on websites such as ipsw.me), Apple effectively granted
           Corellium a right to utilize iOS in its technology, at least for the intended purpose of
           Corellium’s technology – which is transformative fair use in view of Apple’s own products.
           In addition, by allowing other companies such as FireEye to sell an enterprise server
           appliance with a custom hypervisor for virtualizing MacOS on non-Apple hardware, Apple
           has publicly displayed acquiescence and authorization to the use of iOS in a similar
           manner.

           Separately, and by way of further example, Apple’s encouragement of Corellium’s further
           development of its technology up to and during its continued negotiations for the
           acquisition of Corellium, after obtaining access to its technology and information
           concerning its underlying functionality, further qualifies as an implied license and/or
           acquiescence to Corellium’s use of iOS.

    INTERROGATORY NO. 7: Describe whether Corellium and/or its employees are aware of or
    have been aware of since the founding of Corellium any unpatched bugs, exploits, vulnerabilities,
    or other software flaws in iOS, and whether Corellium has reported any such bugs, exploits,
    vulnerabilities, or flaws to Apple.




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           Twitter
           Corellium uses the Twitter handle @CorelliumHQ. Corellium has used Twitter to
           announce beta testing signups, new features, job opportunities, news, and other events.

    INTERROGATORY NO. 13: Identify the date when Corellium first became aware any of
    Apple’s copyrights alleged in the Action, and describe the circumstances under which Corellium
    first became aware of Apple’s copyrights, including Identifying all Persons and Documents
    through which Corellium first became aware of Apple’s copyrights.

           ANSWER:

           Upon subsequent clarification by Apple that the term “copyrights” in this interrogatory
           relates only to those copyrights specifically asserted in the operative Complaint, Corellium
           states that the date when it first became aware of Apple’s copyrights alleged in the Action
           is at least the date of service of Apple’s initial Complaint. As a result of the service of
           Apple’s Complaint, the following individuals became aware of Apple’s copyrights:
           Amanda Gorton and Christopher Wade.

    INTERROGATORY NO. 14: Identify all actions Corellium has taken with regard to or in
    response to Apple’s copyrights or in the anticipation of any copyright litigation with Apple,
    including, but not limited to, any steps taken by Corellium to inform its customers about Apple’s
    copyrights or to obscure information about Apple’s copyrights from Corellium’s users or
    customers.

           ANSWER: Corellium states that it has taken no actions either to inform its customers
           about Apple’s copyrights or to obscure information about Apple’s copyrights from its users
           or customers.




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           Corellium-026361
           Corellium-026359
           Corellium-026362


    INTERROGATORY NO. 16: Identify all Foreign Persons, including but not limited to Foreign
    governments, public and private Foreign agencies, and Foreign companies, who have approached
    Corellium to learn about the Corellium Apple Product or its capabilities, or who have requested
    purchase of, license to, or any other access to the Corellium Apple Product, and describe
    Corellium’s interactions and business with each such Person.

           ANSWER:            Corellium objects to this Interrogatory as it seeks disclosure of
           proprietary, confidential and trade secret information regarding Corellium’s business and
           product. Corellium has already provided its customer list to Apple. Providing every inquiry
           Corellium has had for the purchase of its product has no connection whatsoever to this
           lawsuit and is a quintessential trade secret material. On the same grounds, Corellium also
           objects to this Interrogatory as it seeks private information of Corellium or Corellium’s
           customers in violation of the parties’ right to privacy under the US Constitution.

           Corellium further objects to this Interrogatory in that it is as it is overbroad in both time
           and scope. Specifically, this request is not narrowly tailored to determine whether
           Corellium’s product infringes on Apple’s copyright but rather, seeks information related
           to Corellium’s business and contracts with third parties, or inquiries that had occurred and
           have been rejected, all of which are unrelated to the allegations in the Complaint and Apple.

    INTERROGATORY NO. 17: Identify all Persons who have offered, formally or informally, to
    purchase or acquire part or all of Corellium’s business and describe the circumstances of each
    offer.

           ANSWER:            Corellium objects to this request as it is overbroad, harassing, and not
           proportional to the needs of this case. Indeed, if a third-party company offered to acquire
           Corellium, that is entirely irrelevant and goes to no element of Apple’s copyright
           infringement claim. Corellium also objects to this Interrogatory as it seeks private
           information of Corellium or Corellium’s customers in violation of the parties’ right to
           privacy under the US Constitution. Corellium further objects to this Interrogatory in that it
           is overbroad in both time and scope because it fails to identify a specific period or
           circumstance whereby an attempt by a third party to acquire Corellium, or any of the
           applicable details, may have had any relevancy to this lawsuit.

           As it relates to Apple, on January 25, 2018, Corellium and Apple entered into a
           Confidentiality Agreement for Possible Transaction (the “Non-Disclosure Agreement”) to
           purchase Corellium. Subject to the terms of the Non-Disclosure Agreement, Corellium will
           produce its documents with Apple regarding its offer and negotiations regarding a potential
           acquisition which are responsive to this request.

    INTERROGATORY NO. 18: Fully describe all factual and legal bases for each affirmative
    defense asserted, if any, in Your answer to the Complaint.



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           ANSWER:            Corellium objects to this Interrogatory as it seeks production of
           documents or information protected by the work product doctrine or the attorney-client
           privilege due to relating to the mental and strategic impressions of counsel and
           communications and strategy shared between counsel and the client. A discussion of the
           factual bases for each affirmative defense follows:

                                  FIRST AFFIRMATIVE DEFENSE
                                     (Failure To State A Claim)

           Apple has failed to state a claim for both infringement and violation of the DMCA for the
    reasons stated below.

                                SECOND AFFIRMATIVE DEFENSE
                                          (Fair Use)

             The Corellium product is a wholly new, distinct, transformative, and socially-beneficial
    product with an entirely distinct purpose from ordinary iOS devices. Corellium’s product provides
    users with a substantially more efficient and effective way to research, test, and critique both iOS
    itself and iOS-based applications.

            Corellium’s technology was designed solely for the limited purposes of research, critique,
    and testing.

            First, the Corellium product does not provide key functionality that makes a standard iOS
    device desirable to ordinary consumers. For example, Corellium’s virtual devices cannot make or
    receive phone calls, send or receive text messages, access iTunes or other DRM-protected content,
    log into an iCloud account, navigate with GPS, pair Bluetooth headphones, or take pictures.
    Indeed, the Corellium product is so significantly different from an ordinary iOS device that the
    differences render the Corellium product unusable and undesirable to consumers of ordinary iOS
    devices. In other words, it’s an entirely different product than an iPhone.

           Further, and in addition to the substantial differences stated above, Corellium’s virtual
    product provides new and additional features for research, critique, and testing purposes that are
    not otherwise available on a standard iOS device.

            For instance, the Corellium product incorporates several advanced and innovative research
    and testing tools. These tools include, for example, a file browser, an app browser, and CoreTrace,
    a proprietary tool that enables researchers to holistically view and comprehend all system calls
    made by the operating system and the apps running on it, giving researchers the ability to examine
    and understand both iOS itself and iOS-based applications in advanced new ways that cannot be
    achieved with a standard device, nor with any other research tools on the market. Corellium also
    offers a KAlloc heap debugger, kernel debugger support, and the ability to control features that are
    always-on on Apple hardware, such as PAC, APRR, and KTRR. These features, which again are
    not available with a standard iOS device, all contribute to deeper insight for more advanced
    research, testing, and critique.




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           What’s more, Corellium’s virtualization technology enables the interoperability of iOS on
   an entirely new form-factor: that is, Corellium enables iOS to run on virtual devices on an
   enterprise computer server. Importantly, this new form-factor is exponentially more scalable,
   efficient, and effective than ordinary iOS devices for the purposes of research, testing, and critique.

          Virtualization yields greater scalability and efficiency, and it provides advanced,
   innovative new ways to meet the challenges of workloads like testing, research, and development.

           To effectively test, research, and critique iOS and iOS-based applications, developers often
   need to perform their work on many different device models and many different iOS versions.
   This is because there are many different models and versions available on the market for end users,
   and developers want to ensure their testing and research applies across all the different variations
   that end users might have. In addition, developers often want to run tests across many devices in
   parallel, rather than testing in series on a single device, for greater speed and efficiency.

           Physical devices are simply not designed for use at scale; they are designed for use by the
   individual consumer. This makes them inefficient and ineffective for testing and research at
   volume. Further, physical devices are immutable resources: they cannot be changed into another
   device on demand, so if you need a different device model or OS version, you must obtain an
   entirely new device resource.

           Corellium’s virtualization technology eliminates these inefficiencies by enabling iOS to
   run on a form-factor purposefully designed for scale and productivity: an enterprise server. Servers
   consolidate resources to a single piece of hardware, simplifying resource management. This
   provides a streamlined way for a user to orchestrate, deploy, and manage the resources they need
   for rapid, nimble, efficient testing and research. Moreover, Corellium eliminates resource
   inefficiency by allowing users to instantly create, destroy, and recreate virtual devices on demand
   as needed, rather than tracking down the physical devices they need while unneeded devices sit
   idle.

           Notably, while scalability and efficiency carry no advantage for ordinary consumers, these
   factors are crucially advantageous for developers performing testing and research across many
   different device models and OS versions.

            In addition, unlike physical devices, virtual devices can be paused, snapshotted, restored
   to a previous state, and cloned – features that further facilitate efficiency in research and testing.
   These features allow a developer to, for example, temporarily pause the running system and
   examine precisely what is happening at that moment, or return to a previous point and re-run a test
   in a slightly different way, or create multiple clones of a device and examine the results of different
   tests from the exact same starting point. This can’t be done with physical iOS devices.

          In short, not only does Corellium’s technology not support several of the key features that
   make the original product desirable to ordinary consumers, but it also adds dramatic new
   functionality specifically designed for research, critique, and testing – functionality that is not
   otherwise available with the original product. These significant differences result in meaningful
   improvements in developers’ ability to test, research, and critique iOS and iOS-based applications.



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   Indeed, Apple itself recognized the significant advantages presented by virtual devices for research
   and testing purposes when it sought to acquire Corellium’s technology for these purposes for
   millions of dollars.

           Because Corellium’s product differs so dramatically from Apple’s iOS devices, it cannot
   be said to serve as a substitute for Apple’s iOS devices, and as such, it cannot be said to impact
   the market for iOS or Apple’s iOS devices. In fact, Corellium’s product addresses a market that
   Apple not only does not address, but actually impedes.

           Not only are Apple’s iOS devices not marketed for the purpose of testing, research, and
   critique, but moreover, they are designed and sold in a way that encumbers these purposes. For
   example, it is not possible to purchase iOS devices running older versions of iOS, nor does Apple
   permit users to downgrade their iOS devices to older versions of iOS. As a result, developers
   seeking to perform research and testing on older iOS versions must look to second-hand markets
   to obtain these devices. Often, researchers will contact a seller to ensure the device is not
   accidentally upgraded before shipping, and once they obtain the device, the must hope no one
   accidentally upgrades it or breaks the device, or they must find a new one. They must repeat this
   process every time they need an appropriate device with the appropriate version. Significantly, any
   enterprise providing an iOS-based application will need to perform this type of testing and research
   to ensure that their application is safe and stable for their end users, who may be using many
   different devices and iOS versions.

          With Corellium’s product, on the other hand, developers can instantly deploy the precise
   model with the precise OS version that they need for testing or research. Moreover, they can easily
   and quickly run tests across every device model on every iOS version. This exponential
   improvement in efficiency meaningfully impacts developers’ ability to perform testing and
   research and further distinguishes the Corellium product from physical iOS devices.

           Further, security research typically requires a jailbroken device. On a physical device,
   jailbreaking requires exploiting a vulnerability in the iOS code. As a result, iOS security
   researchers often hoard vulnerabilities, rather than report them, to ensure they can continue
   performing research.

           Corellium’s platform enables developers to “jailbreak” a virtual device without the use of
   any such vulnerabilities. Furthermore, Corellium’s “jailbreak” does not facilitate access to DRM-
   protected content or bypass any DRM restrictions. With Corellium, researchers are thus able to
   meaningfully explore the system without relying on or retaining vulnerabilities in the iOS system,
   and without compromising DRM-protected content. Further, Corellium’s platform gives
   developers tools that exceed the capabilities available on a physical jailbroken device, as described
   above.

          In short, Corellium cannot be said to compete with Apple products because Corellium does
   not provide a substitute for iOS devices, but rather provides an entirely new and transformative
   product. In this way, it cannot be said to impact the market for iOS or Apple’s iOS devices. On the
   contrary, Corellium addresses a market failure that is otherwise hindered by Apple’s iOS devices.




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           Notably, a week before filing its lawsuit against Corellium, Apple announced its plans to
   provide pre-jailbroken research devices to select security researchers. However, these devices have
   not been released. If they ever are released, they will lack the innovative features described above,
   including the highly scalable form-factor and advanced controls only offered by virtual devices.
   As such, it is incorrect to suggest that Corellium impacts the market for Apple’s “research
   devices,” not only because no such market exists, but also because Corellium dramatically differs
   in key features and functionality.

          The Corellium product, in its as-built state that is delivered to customers, does not contain
   any iOS code. The user obtains the unencrypted, publicly available iOS files from Apple’s servers.
   Corellium’s platform loads iOS and modifies it at load time to achieve interoperability, like an
   operating system loading an executable. Importantly, these modifications augment iOS with the
   advanced research features described above.


                                 THIRD AFFIRMATIVE DEFENSE
                                          (Estoppel)

           Apple is estopped from making a claim stemming from Corellium’s product because it is
   now taking a position directly contrary to its prior position relative to Corellium and Corellium’s
   technology. Specifically, Apple has long been aware of the virtualization technology offered by
   Corellium and/or Corellium’s affiliated entities and principals in the past. In fact, Apple employees
   have not only known about the virtualization technology and failed to protest, but instead, have
   actively encouraged the continued development by Corellium, thus causing Corellium to continue
   investing significant resources into ongoing innovation. Apple supported Corellium’s innovation
   and technology so much so that Corellium has been invited to the Apple campus to provide
   demonstrations to Apple on multiple occasions. Never once did Apple object or protest. Apple is
   well-aware of these facts and knows the specifics as to its own knowledge about Corellium and
   Corellium’s technology. Now, after encouragement by Apple, inducing Corellium to sink further
   resources into the technology, Apple suddenly sues for alleged damages.

                                FOURTH AFFIRMATIVE DEFENSE
                                          (Laches)

           Apple has long been aware of the virtualization technology offered by Corellium and/or
   Corellium’s affiliated entities and principals in the past. In fact, Apple employees have not only
   known about the virtualization technology and failed to protest, but instead, have actively
   encouraged the continued development by Corellium, thus causing Corellium to continue investing
   significant resources into ongoing innovation. Apple supported Corellium’s innovation and
   technology so much so that Corellium has been invited to the Apple campus to provide
   demonstrations to Apple. Never once did Apple object or protest. Apple is well-aware of these
   facts and knows the specifics as to its own knowledge about Corellium and Corellium’s
   technology. Now, after encouragement by Apple, inducing Corellium to sink further resources
   into the technology, Apple suddenly sues for alleged damages.

                                 FIFTH AFFIRMATIVE DEFENSE



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                                                (Waiver)

            Apple has waived any claim it may have had stemming from Corellium’s product because
   it has long been aware of the virtualization technology offered by Corellium and/or Corellium’s
   affiliated entities and principals. In fact, Apple employees have not only known about the
   virtualization technology and failed to protest, but instead, have actively encouraged the continued
   development by Corellium, thus causing Corellium to continue investing significant resources into
   ongoing innovation. Apple supported Corellium’s innovation and technology so much so that
   Corellium has been invited to the Apple campus to provide demonstrations to Apple. Never once
   did Apple object or protest. Apple is well-aware of these facts and knows the specifics as to its
   own knowledge about Corellium and Corellium’s technology. Now, after encouragement by
   Apple, inducing Corellium to sink further resources into the technology, Apple suddenly sues for
   alleged damages.

                                 SIXTH AFFIRMATIVE DEFENSE
                                        (Unclean Hands)

           Apple comes to the court with unclean hands because Apple has and is directly benefitting
   from Corellium’s product after actively and implicitly encouraging Corellium to continue the
   development of the product but then suing Corellium for the same development. In that regard,
   please see paragraphs 31 through 37 of Corellium’s Counterclaim [D.E. 64]. Apple is now
   estopped from making a claim stemming from Corellium’s product because it is now taking a
   position directly contrary to its prior position relative to Corellium and Corellium’s technology.
   Specifically, Apple has long been aware of the virtualization technology offered by Corellium
   and/or Corellium’s affiliated entities and principals in the past. In fact, Apple employees have not
   only known about the virtualization technology and failed to protest, but instead, have actively
   encouraged the continued development by Corellium, thus causing Corellium to continue investing
   significant resources into ongoing innovation. Apple supported Corellium’s innovation and
   technology so much so that Corellium has been invited to the Apple campus to provide
   demonstrations to Apple. Never once did Apple object or protest. Apple is well-aware of these
   facts and knows the specifics as to its own knowledge about Corellium and Corellium’s
   technology. Now, after encouragement by Apple, inducing Corellium to sink further resources
   into the technology, Apple suddenly sues for alleged damages. Moreover, Apple is knowingly and
   improperly trying to restrain trade and control the security and research markets as discussed
   further below.

                               SEVENTH AFFIRMATIVE DEFENSE
                                     (Restraint of Trade)

           Apple is attempting to restrain trade through the guise of this lawsuit claiming alleged
   copyright infringement and violation of the DMCA. If Apple succeeds in this case, it will not
   merely terminate an innovative technology that facilitates and advances the positive work of
   mobile developers and testers, but will stunt security, research, and innovation efforts within and
   beyond the mobile development industry. To be clear, a successful result by Apple with the
   copyright infringement claim will set a precedent that the virtualization of any third-party software
   or other app or program, no matter the use or transformative nature, is infringing upon that third-



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   party’s intellectual property rights. Such a result is at odds with the entire idea behind fair use and
   will inevitably close the door on virtualization and emulation efforts and other similar useful
   development and testing methods. Such a precedent will keep the industry as a whole from
   advancing forward, limited to only what is made available by hard devices—such as those entirely
   controlled by Apple.

           Similarly, a successful result by Apple on the DMCA claim will result, effectively, in the
   jailbreak industry being deemed illegal, a notion that Congress and the U.S. Copyright Office has
   already expressly declined to ratify. Such a precedent, at odds with the current intent of Congress,
   would have a resounding negative effect on advancing security (national or otherwise), app testing,
   repair and maintenance, and innumerable other good faith uses for the jailbreaking of an electronic
   device.

           Finally, a week before filing its lawsuit, Apple announced that it planned to release pre-
   jailbroken iPhones, which it will ostensibly offer for free for select security researchers – thus
   implying through this instant case, that providing jailbroken iOS for security research is
   permissible, so long as Apple controls it and has no competition.

                               EIGHTH AFFIRMATIVE DEFENSE
                          (Authorized Use, License, Consent, Acquiescence)

           As stated above, Apple has long been aware of the virtualization technology offered by
   Corellium and/or Corellium’s affiliated entities and principals in the past. In fact, Apple employees
   have not only known about the virtualization technology and failed to protest, but instead, have
   actively authorized and encouraged the continued development by Corellium, thus causing
   Corellium to continue investing significant resources into ongoing innovation. Apple supported
   Corellium’s innovation and technology so much so that Corellium has been invited to the Apple
   campus to provide demonstrations to Apple. Never once did Apple object or protest. Apple is
   well-aware of these facts and knows the specifics as to its own knowledge about Corellium and
   Corellium’s technology. Apple has acquiesced as well as expressly and implicitly authorized
   Corellium’s virtualization technology and any use of Apple iOS therewith.

                                 NINTH AFFIRMATIVE DEFENSE
                             (Invalidity or Unenforceability of Copyright)

          Apple’s protected work, or portions of it, are functional, not expressive works.

                                 TENTH AFFIRMATIVE DEFENSE
                                     (Scenes a Faire Doctrine)

          Elements of Apple’s copyrighted works are dictated by practical realities, such as by
   hardware standards and mechanical specifications, software standards and compatibility
   requirements, as well as standard programming practices, and may not obtain copyright protection
   as such.

          Several elements of the iOS driver stack, where Corellium software meets Apple's iOS



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   product, are particularly good examples. The NAND Flash driver for currently supported iPhones
   (including the model 6s and newer) is an implementation of the open NVMe standard.
   Additionally, the USB driver stack on all iPhones not only implements the USB standards, but also
   interacts - on a real phone - with a third-party USB controller which also has Linux drivers.
   Similarly, for the WLAN device driver, a major part of functionality mirrors closely the Broadcom
   device drivers on other platforms. Another example is the FIPS module referred to in Interrogatory
   3 above: FIPS (Federal Information Processing Standards) are public standards developed by the
   National Institute of Standards and Technology for use in computer systems by non-military
   American government agencies and contractors, establishing requirements for security and
   interoperability. These are only a few examples.

          Furthermore, many portions of the iOS software, including the kernel, are based on
   unencrypted open-source software.

                              ELEVENTH AFFIRMATIVE DEFENSE
                                     (Merger Doctrine)

           Corellium’s use of its product is protected under the Copyright Merger Doctrine as there
   is only one way to virtualize third-party software for the purpose of research and testing—that is
   through the virtualization of the third-party software for the purpose of research and testing.
   Further, there is only one way to test and research a software, and that is to use the actual software.
   Corellium is merely providing a virtual platform for the purposes of research, critique, and testing.
   The virtualization is strictly Corellium code and there is no other way to research a certain software
   other than to use that software.

                                TWELTH AFFIRMATIVE DEFENSE
                                    (No Willful infringement)

           Corellium completely denies any and all claims made by Apple that it has infringed upon
   any of Apple’s protected rights. That notwithstanding, Corellium states that all actions taken by it
   in the development and sale of its product were done innocently and in good faith and lack any
   willful intent to infringe.

                             THIRTEENTH AFFIRMATIVE DEFENSE
                                         (Misuse)

           Apple, via this lawsuit, is attempting to extend the protections afforded by its asserted
   Copyright Registrations to restrain trade as well as preclude Corellium from providing its
   virtualization product. This is copyright misuse.

                             FOURTEENTH AFFIRMATIVE DEFENSE
                                   (De Minimis Infringement)

           Apple sells its iOS devices, which include its iOS software to a certain target market and
   for certain commercial purposes. Corellium’s product is neither marketed nor sold to either that
   same target market or for those same purposes. Thus, there is minimal harm, if any, realized by



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   Apple. On the contrary, Corellium’s product is marketed and sold to developers seeking to advance
   the security and stability of iOS and iOS-based applications, and as such, Corellium benefits and
   improves Apple’s iOS products and the iOS ecosystem.

            Furthermore, the Corellium product uses no code written by Apple for its proprietary
   virtualization platform. The Corellium virtualization platform merely enables users to load and
   execute certain portions of iOS for testing and research. Corellium’s clients download
   unencrypted publicly available iOS IPSW files directly from Apple to be run on Corellium’s
   virtualization platform. Importantly, Corellium does not enable the user to run any encrypted iOS
   files, nor does Corellium facilitate any decryption. Corellium users are not able to run any portions
   of iOS that yield access to DRM-protected content or Apple services. Accordingly, any possible
   infringement, if any, is entirely de minimis. For clarity, however, Corellium denies any and all
   infringement.

                              FIFTEENTH AFFIRMATIVE DEFENSE
                                      (Innocent Intent)

           Corellium completely denies any and all claims made by Apple that it has infringed upon
   any of Apple’s protected rights. That notwithstanding, Corellium states that all actions taken by it
   in the development and sale of its product were done innocently and in good faith and lack any
   willful intent to infringe.

                             SIXTEENTH AFFIRMATIVE DEFENSE
                      (Failure to State a Claim – No Copyright Infringement)

           For all the reasons stated herein, Apple has failed to state a claim for Copyright
   Infringement.

                           SEVENTEENTH AFFIRMATIVE DEFENSE
                         (Constitutionality of 17 U.S.C. §§1201(a)(2) & (b))

          The stated provisions abridge the First Amendment’s protected right of free speech as the
   Corellium product is used for such purposes including the research, testing, and security efforts
   engaged by Corellium’s clients.

                            EIGHTEENTH AFFIRMATIVE DEFENSE
                               (17 U.S.C. §1201(c)(4) – Free Speech)

           Pursuant to 17 U.S.C. §1201(c)(4), the language set forth in section 17 U.S.C. §1201 does
   not “enlarge or diminish any rights of free speech or the press for activities using consumer
   electronics, telecommunications, or computing products.” Corellium retains the right to freely
   express its code and products using, inter alia, computing products as permitted by 17 U.S.C.
   §1201(c)(4). Corellium’s expression is its own virtualization software, which is formed entirely
   upon its own code.

                             NINTEENTH AFFIRMATIVE DEFENSE



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                                    (No Circumvention Enabled)

           Initially, it is noteworthy that Apple has failed to specify exactly what technological
   protection measures Apple believes Corellium has circumvented, thus, it is impossible to assert
   any specific factual bases which Corellium will express to support this instant defense.

           However, Corellium does state that it has not circumvented any technological protection
   measures in connection with the product at issue in this case because no such technological
   protection measures can be said to exist. For clarity, Apple makes its iOS files freely available,
   unencrypted, for anyone to download, and no technological measures are in place to prevent users
   from accessing, opening, viewing, modifying, copying, displaying, executing, or otherwise
   interacting with the iOS files once downloaded. As such, no technological protection measures
   can be said to exist.

                            TWENTIETH AFFIRMATIVE DEFENSE
                               (17 U.S.C. §1201(c)(1) – Fair Use)

          The factual bases for Corellium’s defense of fair use is set forth above.

                          TWENTY-FIRST AFFIRMATIVE DEFENSE
                           (17 U.S.C. §1201(f) – Reverse Engineering)

          The Corellium product was developed and is sold for the purposes of repair, maintenance,
   research, testing, and security related reasons including reverse engineering.

                         TWENTY-SECOND AFFIRMATIVE DEFENSE
                           (17 U.S.C. §1201(g) – Encryption Research)

          The Corellium product was developed and is sold for the purposes of repair, maintenance,
   research, testing, and security related reasons including encryption research.

                          TWENTY-THIRD AFFIRMATIVE DEFENSE
                            (17 U.S.C. §1201(j) – Security Testing)

          The Corellium product was developed and is sold for the purposes of repair, maintenance,
   research, testing, and security related reasons including security testing.

                         TWENTY-FOURTH AFFIRMATIVE DEFENSE
                            (37 C.F.R. §201.40(b)(6) – Jailbreaking)

          The Corellium product was developed and is sold for the purposes of repair, maintenance,
   research, testing, and security related reasons including jailbreaking.

                          TWENTY-FIFTH AFFIRMATIVE DEFENSE
                    (37 C.F.R. §201.40(b)(11) – Good Faith Security Research)




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          The Corellium product was developed and is sold for the purposes of repair, maintenance,
   research, testing, and security related reasons including good faith security research.




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                          DECLARATION UNDER PENALTY OF PERJURY
          I, Amanda Gorton as the authorized representative and on behalf of Corellium, LLC,

   declare under penalty of perjury under the laws of the United States of America that the foregoing

   Fourth Amended Answers to Apple, Inc.’s First Set of Interrogatories are true and correct.

                     9 2020.
   Executed on March __,



                                                _________________________________
                                                AMANDA GORTON

                                                AS THE AUTHORIZED REPRESENTATIVE
                                                AND ON BEHALF OF CORELLIUM, LLC.
